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                            IN THE UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION


MARK ORTEGA, individually and on behalf of
all others similarly situated,

               Plaintiff,
                                                              Case No: 5:24-cv-00519-OLG
v.

SECURE ONE CAPITAL CORPORATION

               Defendant.


       OPPOSED MOTION FOR LEAVE FOR ATTORNEY PAULINA ALMANZA
 AND ALMANZA TERRAZAS PLLC TO WITHDRAW AS COUNSEL FOR PLAINTIFF

        Undersigned counsel, Paulina Almanza, files this Motion for Leave to Withdraw as

 Counsel for Plaintiff. Undersigned counsel, along with the firm of Almanza Terrazas PLLC,

 request that the Court grant their permission to withdraw as counsel for Plaintiff Mark Ortega, and

 would show as follows:

        “An attorney may withdraw from representation only upon leave of the court and a showing

 of good cause and reasonable notice to the client.” In re Wynn, 889 F.2d 644, 646 (5th Cir. 1989).

 The attorney seeking to withdraw has the burden to show good cause and unsubstantiated claims

 are generally insufficient to carry that burden. See Denton v. Suter, No. 3:11-CV-2559-N, 2013

 U.S. Dist. LEXIS 142388, 2013 WL 5477155, at *1 (N.D. Tex. Oct. 2, 2013). Whether to permit

 counsel to withdraw lies within the Court's sound discretion. In re Wynn, 889 F.2d at 644. For the

 courts to properly exercise such discretion, the movant must provide reasons for the requested

 withdrawal. Denton, 2013 U.S. Dist. LEXIS 142388, 2013 WL 5477155, at *1.
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       Good cause for undersigned counsel to withdraw exists. The Texas Rules of Professional

Conduct state that a lawyer shall withdraw from representation if “the lawyer’s physical, mental

or psychological condition materially impairs the [lawyer’s] fitness to represent the client.” See

Tex. R. Disc. Prof’l. Cond. 1.16(a)(2). Moreover, other good cause for withdrawal exits because

the attorney client relationship is unsustainable. See Tex. R. Disc. Prof’l. Cond. 1.16(b)(7).

Continuing with the attorney-client relationship would be futile and would delay the prosecution

of Plaintiff’s claims, thereby expending unnecessary resources of the Court and the parties.1

       Undersigned counsel has notified Plaintiff of the need to withdraw from this case and

notified Plaintiff that if she did not hear back from him by October 31, 2024, she would be

withdrawing from the case. A successor attorney is presently unknown. In accordance with the

local rules, Plaintiff’s name, address, and phone number are as follows:

       Mark Anthony Ortega
       15450 Capital Prt Dr.
       San Antonio, Texas 78249
       (210) 744-9663

       This case is at the inception of the litigation. There is no trial setting at the moment.

       The client’s signature could not be obtained after due diligence because Paulina Almanza

was recommended by a Texas Bar Ethics Attorney to immediately withdraw as counsel.2

       Accordingly, undersigned counsel respectfully requests leave from the Court to grant her

request to withdraw as counsel of record for Plaintiff Mark Ortega.

                                     [Signature Page Follows]




1
  Undersigned counsel is prepared to provide an affidavit and documentary proof under seal to
establish good cause for the Court’s consideration.
2
  Undersigned counsel is prepared to provide more information under seal for the Court’s
consideration.
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 Dated: November 4, 2024

                                            By: /s/Paulina Almanza
                                                Paulina Almanza
                                                TX State Bar No. 24109580
                                                Almanza Terrazas PLLC
                                                13423 Blanco Rd, PMB 8098
                                                San Antonio, Texas 78216
                                                Telephone: (512) 900-9248
                                                paulina@almanza.legal


                             CERTIFICATE OF CONFERENCE
      In accordance with the Western District of Texas’s Local Rule 7(g), Plaintiff conferred
with Defendant’s counsel via email on November 1, 2024, to inform Defendant of this Motion.
Defendant’s counsel stated that they oppose the motion.

                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on 11/04/2024, I electronically filed the foregoing document
with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served
this day on all counsel of record, pro se parties, and Plaintiff Mark Ortega via transmission of
Notices of Electronic Filing generated by CM/ECF.


                                                By: /s/Paulina Almanza
                                                    Paulina Almanza
